                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION
 UNITED STATES OF AMERICA,                            )
                                                      )
                 Plaintiff,                           )
                                                      )
 v.                                                   )       No. 10-00244-02-CR-W-DW
                                                      )
 BRADLEY COOK,                                        )
                                                      )
                 Defendant.                           )
                                            ORDER

         Before the Court is Magistrate Judge Robert E. Larsen’s Report and Recommendation (Doc.

219) to Deny Defendant Bradley Cook’s (the "Defendant") Motion to Dismiss Indictment (Doc.

118). After an independent review of the record, the applicable law and the parties’ arguments, the

Court ADOPTS the Magistrate’s Report and Recommendation (Doc. 219). Accordingly, the Court

ORDERS that the Magistrate’s Report and Recommendation be attached to and made a part of this

Order, and DENIES the Defendant’s Motion to Dismiss Indictment (Doc. 118).

         IT IS SO ORDERED.




 Date:     June 17, 2013                                       /s/ Dean Whipple
                                                                    Dean Whipple
                                                             United States District Judge




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